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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF VERMONT

  GARRET SITTS, et al.,

        Plaintiffs,

  v.                                        Civil Action No. 2:16-cv-00287-cr

  DAIRY FARMERS OF AMERICA, INC. and
  DAIRY MARKETING SERVICES, LLC,

        Defendants.


REPLY IN SUPPORT OF DEFENDANTS DAIRY FARMERS OF AMERICA, INC. AND
DAIRY MARKETING SERVICES, LLC’S MOTION IN LIMINE NO. 1: TO PRECLUDE
EVIDENCE AND ARGUMENT BASED ON INADMISSIBLE HEARSAY TESTIMONY
             FROM GARRET SITTS AND WILLIAM SWALLOW


 REDACTED VERSION FILED PUBLICLY PURSUANT TO PROTECTIVE ORDER
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        After a decade of litigation, dozens of depositions, and hundreds of thousands of documents

reviewed, plaintiffs’ proof of threats to Order 1 farmers is one witness repeating a truck-stop-

restaurant conversation he overheard, between people he did not recognize, that did not reveal any

actual threats, and that did not involve Order 1. As that witness—Mr. Swallow—described it, he

got a passing glance at three diners as he walked to his lunch booth, the diners were in the middle

of a conversation he did not understand because he                        ,” and after Mr. Swallow

eavesdropped for a moment, the

     .”1 Plaintiffs seek to admit Mr. Swallow’s retelling of the brief, out-of-context, statements he

heard as admissions by Dairy Marketing Services, LLC (“DMS”) upon which the jury could rely

to find DMS liable for violating the Sherman Act, even though the diners’ identities, job titles, and

employers remain unclear to this day. Respectfully, the Court should exclude the retelling of those

out-of-court statements as inadmissible hearsay that have no relevance to the trial and would be

unfairly prejudicial to Dairy Farmers of America, Inc. (“DFA”). See Fed. R. Evid. 802, 403.

                                          DISCUSSION

I.      MR. SWALLOW’S RECOUNTING OF A LUNCH-BOOTH CONVERSATION HE
        OVERHEARD IS INADMISSIBLE HEARSAY

        There is no dispute that Mr. Swallow’s retelling of a lunch-booth conversation he

eavesdropped on is inadmissible hearsay, unless some hearsay exception applies. Plaintiffs rely

on the carve-out for statements “made by the party’s agent or employee on a matter within the

scope of that relationship and while it existed.” Fed. R. Evid. 801(d)(2)(D). But plaintiffs fail to

lay a sufficient foundation to satisfy any of the three requirements for this hearsay exclusion,

including “establishing ‘(1) the existence of the agency relationship, (2) that the statement was


1
      Ex. A, W. Swallow Dep. 19:5-20:1, Allen v. Dairy Farmers of Am., Inc., No. 5:09-cv-
00230 (D. Vt. Jan. 19, 2011) (“Swallow Dep.”), attached to Plaintiffs’ Opposition to DFA’s
Motion in Limine No. 1, ECF No. 219-1.
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example, he could have obtained the DMS t-shirt from a second-hand store; he could have been a

milk-hauling contractor employed by a third-party company that has no involvement in this case—

this conversation did take place at a truck stop after all; or he could have been a former DMS

employee, or even a farmer who marketed milk through DMS, with no contemporaneous agency

relationship with DMS or DFA. The possibilities are endless. Without any representation by the

speaker that he worked for DMS or DFA, without any clarity on his identity, and without any

observation of him at a DMS or DFA work-site or performing any work whatsoever, there is no

adequate basis to treat the speaker’s statements as anything other than classic hearsay that must be

excluded under the law. See Farganis v. Town of Montgomery, 397 F. App’x 666, 668 (2d Cir.

2010) (finding uncertainty of a declarant’s identity weighs against agency hearsay exception).

       The cases plaintiffs rely upon to urge the Court to infer an agency relationship from the

weak circumstantial evidence here—a logo on a t-shirt—are nothing like the situation before this

Court. See Opp’n at 5. The declarants in all of the cases plaintiffs cite were actually at their places

of employment and were demonstrably acting within the scope of employment at the time when

they made statements directly to the witness about that employment. These are the kinds of

statements that courts find appropriate to admit under Rule 801(d)(2)(D). In Yepez v. 44 Court

Street LLC, for example, customers in a convenience store had conversations with unidentified

employees about the store’s wheelchair access. Mem. of Law in Supp. of Mot. in Limine at 14-

15, Yepez v. 44 Court Street LLC, No. 1:13-cv-00758 (E.D.N.Y. Jan. 21, 2014), ECF No. 50.

Similarly, in Smith v. Pathmark Stores, Inc., a customer who had fallen in a Pathmark supermarket

was approached by an employee wearing a Pathmark uniform and claiming responsibility for the

slippery floor. 485 F. Supp. 2d 235, 238-39 (E.D.N.Y. 2007). And in O’Neal v. Etsy, the court

admitted a witness’s testimony about statements by a police officer where the witness had called




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excluded under Rule 403. Mr. Swallow’s testimony has no relevance to this trial. Plaintiffs

explain that they intend to rely upon Mr. Swallow’s testimony to “argue that Defendants have

threatened farmers, including those who try to leave DFA or DMS, in an effort to maintain their

monopsony power in Order 1.” Opp’n at 6. But Mr. Swallow’s testimony does not support that

argument at all. There are at least three insurmountable gaps in plaintiffs’ relevance theory.

       First, Mr. Swallow’s testimony does not show that any farmer was actually threatened.

Even plaintiffs’ characterization of the truck-stop gossip would only show one milk inspector

boasting over lunch about actions he might take if some unidentified farmers “                   .”22

Mr. Swallow has no evidence that any threats were actually carried out.23 If there was a vast

conspiracy to threaten farmers, plaintiffs should have proof of actual threats. They have none.

       Second, contrary to plaintiffs’ suggestion, Mr. Swallow’s testimony does not relate to

Order 1 at all. Only a slice of southern Pennsylvania is in Order 1, and Mr. Swallow confirmed

that nothing regarding the conversation he overheard related to Order 1. The truck stop was not

in Order 1. The farmer that supposedly identified the man with the DMS shirt was not in Order 1.

And the east central Pennsylvania area that Mr. Swallow assumed the diners were talking about

was not in Order 1.24 Thus, even if the diner carried through on his braggadocio (which there is

no evidence of), his actions are outside of the geographic market in this case and are irrelevant.

See State of New York v. Deutsche Telekom AG, 419 F. Supp. 3d 783, 787-88 (S.D.N.Y. 2019)

(granting motion in limine on Rule 403 grounds to exclude evidence outside the relevant market).




22
       Id. at 18:2-19:4.
23
       Id. at 30:4-13.
24
       Id. at 44:19-45:15. See also Ex. 1, Northeast Milk Marketing Area—Order 1 Map (Jan.
12, 2011), attached to the concurrently filed declaration of Alfred C. Pfeiffer Jr. Mr. Swallow
marked the location of Mr. Fisher’s farm with a red dot. See Ex. A, Swallow Dep. 44:22-3.


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       Third, there is no evidence that this truck-stop conversation related to any of the actual

plaintiffs involved in this trial. As the Court is aware, plaintiffs have designated 20 plaintiffs

whose claims are at issue in this first trial. Mr. Swallow had no idea which farmers the diners were

discussing, let alone whether the conversation related to any of the specific plaintiffs whose claims

are at issue in this case. If any of the 20 plaintiffs experienced a threat, they should present that

claim at trial so that it may be subjected to cross-examination, rather than relying on speculative

and unsubstantiated second-hand chit-chat that took place outside of Order 1.

       For the same reasons that Mr. Swallow’s testimony is irrelevant to the 20 plaintiffs

involved in this trial, it would be misleading, confusing, and unfairly prejudicial to present this

evidence to the jury. It would be hugely prejudicial to imply that some widespread policy of

intimidation existed based on a nearly-decade-old transcript when the out-of-court statements

show no such thing, and DFA has no way to identify any of the out-of-court declarants or the

farmers being discussed to discredit the hearsay testimony. Respectfully, the Court should not

allow this trial to devolve into relying on truck-stop gossip by unidentified speakers, when there

are 20 farmers who should be available and willing to take the witness stand and testify if they

contend they have been threatened in any way.

                                         CONCLUSION

       For the foregoing reasons, DFA respectfully requests that the Court grant its motion to

exclude the admission of Mr. Swallow’s out-of-court statements at trial. Because plaintiffs have

represented that they will no longer rely on or attempt to present at trial the challenged testimony

of Mr. Sitts, DFA agrees that aspect of its motion is now moot.




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Dated: June 17, 2020                   Respectfully submitted by:

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                               CERTIFICATE OF SERVICE



       I hereby certify that on June 17, 2020, I electronically filed with the Clerk of Court the
foregoing document using the CM/ECF system and served the below parties via email. The
CM/ECF system will provide service of such filing via Notice of Electronic Filing (NEF) to the
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